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                 1 LINDA CLAXTON, State Bar No. 125729
                   linda.claxton@ogletreedeakins.com
                 2 CHRISTOPHER W. DECKER, State Bar No. 229426
                   christopher.decker@ogletreedeakins.com
                 3 OGLETREE, DEAKINS, NASH,
                   SMOAK & STEWART, P.C.
                 4 633 West Fifth Street, 53rd Floor
                   Los Angeles, California 90071
                 5 Telephone: (213) 239-9800
                   Facsimile: (213) 239-9045
                 6
                   Attorneys for Defendants
                 7 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
                   CORPORATION (incorrectly named and sued as “RBC WEALTH
                 8 MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
                   INC.”), and THE ROYAL BANK OF CANADA US WEALTH
                 9 ACCUMULATION PLAN
                10
                11                    UNITED STATES DISTRICT COURT
                12                  CENTRAL DISTRICT OF CALIFORNIA
                13
                     STEVEN BENHAYON,                        Case No. CV08-06090 FMC(AGRx)
                14
                                    Plaintiff,               SECOND DECLARATION OF
                15                                           CHRISTOPHER W. DECKER IN
                         v.                                  SUPPORT OF DEFENDANTS’
                16                                           MOTION FOR PARTIAL
                     ROYAL BANK OF CANADA, a                 SUMMARY JUDGMENT ON
                17   Canadian company, business form         PLAINTIFF’S CLAIM FOR
                     unknown; RBC WEALTH                     BENEFITS UNDER THE ROYAL
                18   MANAGEMENT COMPANY, formerly            BANK OF CANADA US WEALTH
                     RBC DAIN RAUSCHER, INC.,                ACCUMULATION PLAN
                19   business form unknown; THE ROYAL
                     BANK OF CANADA US WEALTH
                20   ACCUMULATION PLAN, formerly             DJ:          Florence-Marie Cooper
                     known as RBC Dain Rauscher Wealth       Courtroom:   (Roybal) 750
                21   Accumulation Plan; and, DOES 1          MJ:          Alicia G. Rosenberg
                     through 20,                             Courtroom:   (Spring) 23
                22
                                    Defendants.              Trial Date: February 16, 2010
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                                                                      CASE NO. CV08-06090 FMC(AGRx)
                                    SECOND DECLARATION OF CHRISTOPHER W. DECKER
           Case 2:08-cv-06090-FMC-AGR Document 59 Filed 09/28/09 Page 2 of 2 Page ID #:975




                 1                SECOND DECLARATION OF CHRISTOPHER W. DECKER
                 2           I, CHRISTOPHER W. DECKER, declare and state as follows:
                 3           1.      I am an attorney at law, duly licensed to practice before all courts of the
                 4 State of California. I am an Associate with the law firm of Ogletree, Deakins, Nash,
                 5 Smoak & Stewart P.C., attorneys of record herein for Defendants ROYAL BANK
                 6 OF CANADA, RBC CAPITAL MARKETS CORPORATION (incorrectly named
                 7 and sued as “RBC WEALTH MANAGEMENT COMPANY, formerly RBC DAIN
                 8 RAUSCHER, INC.”), and THE ROYAL BANK OF CANADA US WEALTH
                 9 ACCUMULATION PLAN. The facts set forth herein are true of my own personal
                10 knowledge, and if called upon to testify thereto, I could and would competently do
                11 so under oath.
                12           2.      Attached hereto as Exhibit A are true copies of excerpts of the
                13 Deposition of Gabriela Sikich taken in this matter on August 28, 2009. These
                14 excerpts contain the deposition testimony cited by Defendants in their Supplemental
                15 Reply Brief Regarding Plaintiff’s Claim For Benefits Under the Royal Bank of
                16 Canada US Wealth Accumulation Plan.
                17
                     DATED: September 28, 2009                     OGLETREE, DEAKINS, NASH, SMOAK
                18                                                 & STEWART, P.C.
                19
                20
                21                                                 By:    /s/ Christopher W. Decker
                                                                              Christopher W. Decker
                22                                                 Attorneys for Defendants
                                                                   ROYAL BANK OF CANADA, RBC
                23                                                 CAPITAL MARKETS CORPORATION
                                                                   (incorrectly named and sued as “RBC
                24                                                 WEALTH MANAGEMENT COMPANY,
                                                                   formerly RBC DAIN RAUSCHER,
                25                                                 INC.”), and THE ROYAL BANK OF
                                                                   CANADA US WEALTH
                26                                                 ACCUMULATION PLAN
                27   7743462.1 (OGLETREE)

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                                                                1             CASE NO. CV08-06090 FMC(AGRx)
                                            SECOND DECLARATION OF CHRISTOPHER W. DECKER
